                                                               ORDER:
                                                               Motion granted. Defendants
                                                               have until April 16, 2019, to
                                                               obtain new counsel. Any new
                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF TENNESSEE counsel shall file a Notice of
                           NASHVILLE DIVISION                  Appearance promptly. If
                                                               nothing is filed by April 16,
                                                               Defendants shall be deemed
                                                               proceeding pro se.
JENNIFER REED and                 )
JOSE LUIS GARCIA TALENTINO,       )
                                  )
     Plaintiffs,                  ) Civil Action No. 3:18-cv-00819 U.S. Magistrate Judge
                                  )
v.                                ) Judge Eli J. Richardson
                                  ) Magistrate Judge Frensley
YOUNG HO KIM and UN JUNG KIM, )
                                  )
     Defendants.                  )




                    MOTION TO WITHDRAW AS COUNSEL FOR
                  DEFENDANTS YOUNG HO KIM AND UN JUNG KIM


       Comes Trevor W. Howell, pursuant to the Federal Rules of Civil Procedure, the local

rules of this Court and the Code of Professional Responsibility, and moves this Court for an

Order allowing him to withdraw his appearance in this action as counsel of record for

Defendants, Young Ho Kim and Un Jung Kim (hereinafter referred to as “Defendants” or “the

Kims”).

       In support of this Motion, undersigned Counsel would state because of health reasons

which involve treatment, surgery and recuperation, undersigned is not presently and will not be

able to represent Defendants, that undersigned has taken reasonable steps to avoid foreseeable

prejudice to the rights of Defendants and has given due notice to Defendants of his intentions to

withdraw as their counsel. (See Exhibit “A”.) For language barrier reasons, communications

with undersigned’s clients (Defendants) have been by and though their son, Dr. Andrew Kim.

The undersigned is filing this Notice early with knowledge that the required fourteen (14) days



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